Case 2:04-cv-02758-BBD-dkv Document 18 Filed 05/12/05 Page 1 of 2 Page|D 12

UNITED STA res DISTRICT Co URT
VVZRS]UEILA!I)LSIURI(F?`(LF'ZYLAUVILSEHEZZW

 

WESTERN DIVISION
JAMES HAM:BY JUDGME:NT IN A cIvIL cAsE
Jo ANNE B. BARNHART, cAsE No= 04-2758

Commissioner of Social Security

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED.AND ADJUDGED that in accordance with the Order of

Remand entered on April 28, 2005, this cause is hereby dismissed.

APPRO D :

  
  

ERNICE . DONALD
ITED STATES DISTRICT COURT

MM /// ZOIJ,, -FUSti-il R. Di” lrli;j__g_)
Date 67' Clerk of Court

@Mége&//

(By);7beé¢t& ClerK

  

Thi 5 document entered on the docket sheet in compliance /
th eule se and/or ra{a) FRCP nn 5 ”“ 'O o

 

 

D1R11 COURT - WESTENR 1CSR1T oF TNNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02758 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

Chris A. Cornaghie

LAW OFFICE OF CHRIS CORNAGH[E
1407 Unicn Ave.

Ste. 1203

Memphis7 TN 38104

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honcrable Bernice Donald
US DISTRICT COURT

